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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FRAN JANIK and STEVEN HIRSCH,

 

 

 

 

 

Plaintiffs, l€-cv-TSOS (JGK)
- against - MEMORANDUM OPINION &
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sPIN usDIA, INc.,
Defendant. USDCSDNY
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JOHN G. KOELTL nistrict Judge: DOC# 5
' DATE F\\_F_D;*_éi. -§ "

 

 

 

The defendant, Spin Media, Inc., objects pursuant to Ru e
72(a) of the Federal Rules of Civil Procednre to an order of
Magistrate Judge Andrew J. Peck denying its motion for
attorney’s fees and costs pursuant to l? U.S.C. § 505 against
Fran Janik, one of the plaintiffs in this action.l For the
following reasons, the Magistrate Judge’s ruling is vacated and
the matter is remanded for further consideration.

I.

The following facts are undisputed.

fn this case, Janik alleged that Spin Media committed
copyright infringement, in violation of 17 U.S.C. §§ 106 and
501, and improperly managed identifying copyright information,

in violation of 17 U.S.C. § 1202(b), by publishing without

 

1 The Magistrate Judge also denied Spin Media’s motion for attorney’s
fees and costs against Steven Hirsch, another plaintiff in this
action. Spin Media has waived any objection to that decision.

 

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proper authorization a photograph Janik had taken. Am. Compl.
II 8-9, 15~16, 19-33.

The Court referred Janik’s case to the designated
Magistrate Judge for general pretrial purposes, including all
issues related to scheduling, discovery, non-dispositive
pretrial motions, and settlement. Janik violated multiple court
orders during the course of discovery, which resulted in the
Magistrate Judge repeatedly imposing sanctions against him.

danik last violated a court order when Spin Media noticed
him for a deposition. danik requested to appear at the
deposition remotely, but the Magistrate Judge ordered him to
appear in person. Rather than complying with the Magistrate
Judge's order, Janik failed to appear for his deposition and
moved to dismiss his case without prejudice in an effort to
avoid further sanctions. The Magistrate Judge sanctioned Janik
for failing to appear, denied Janik’s motion to dismiss without
prejudice, and informed Janik that additional sanctions would be
levied against him unless he appeared in person for his
deposition or moved to dismiss his case with prejudice. Janik
then moved to dismiss his case with prejudice, and the
Magistrate Judge granted the motion. Spin Media did not take a
position on Janik's motion to dismiss with prejudice.

Following the dismissal of Janik's case, Spin Media moved

for attorney's fees and costs pursuant to 17 U.S.C. § 505. The

 

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Magistrate Judge denied Spin Media’s motion with the following

endorsement:

merits,r as such.”

“DENIED -- Dismissal was not a decision on the

This appeal challenging the Magistrate Judge’s denial of

attorney's fees and costs followed.

II.

Objections to a magistrate judge's ruling should be

sustained only if the ruling was clearly erroneous or contrary

to law. See Fed. R. Civ. P. 72(a); see

§ 636(b){1)(A); In re Buspirone Patent

also 28 U.S.C.

Litig., 210 F.R.D. 43, 52

 

(S.D.N.Y. 2002). “An order is ‘clearly

reviewing court on the entire evidence
and firm conviction that a mistake has

v. Air France, No. OO-cv~5004, 2001 WL

sept. 27, 2001)

erroneous’ only when the

is left with the definite
been committed.” Surles
at *1

1142231, (s.D.N.Y.

(internal quotation marks omitted). An order is

“contrary to law” when it “fails to apply or misapplies relevant

statutes, case law or rules of procedure.” Id. (internal

quotation marks omitted); see also Collens v. City of New York,

 

222 F.R.D. 249, 251 (S.D.N.Y. 2004).

Spin Media argues that the Magistrate Judge’s ruling was

(l)

contrary to law for two reasons:

The Magistrate Judge erred

in holding that a voluntary dismissal with prejudice is not a

decision on the merits, and (2) the Magistrate Judge failed to

 

 

 

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consider explicitly the factors enumerated in Fogerty v.
Fantasy, lnc., 510 U.S. 517, 534 n.19 (1994).
A.

Rule 54(d)(l) of the Federal Rules of Civil Procedure
provides that “costs . . . should be allowed to the prevailing
party” in a civil action, and Rule 54(d)(2) permits a party to
move for an award of attorney's fees. 17 U.S.C. § 505 provides
that, in copyright actions,r “the court may . . . award a
reasonable attorney’s fee to the prevailing party as part of the

costs." See Zalewski v. Cicero Builder Dev., Inc., 754 F.3d 95,

 

108 (2d Cir. 2014). “[l]n general, a litigant Who is a
prevailing party for purposes of attorney’s fees is also the

prevailing party for purposes of costs.” Dattner v. Conagra

 

Foods, lnc., 458 F.3d 98, 101 (2d Cir. 2006) (per curiam).

A prevailing party for purposes of fees and costs is one
who has benefitted from a court order that effects a “material
alteration of the legal relationship of the parties.” Garcia v.

Yonker Sch. Dist., 561 F.Bd 97, 102 (2d Cir. 2009) (guoting

 

Buckhannon Bd. & Care Home, lnc. v. W. Va. Dep’t of Health &

 

Human Res., 532 U.S. 598, 604 (2001)). An enforceable judgment

on the merits is a “material alteration of the legal

relationship of the parties.” Buc}<:hannon,r 532 U.S. at 604.
Here, the Magistrate Judge ruled that Spin Media was not a

prevailing party because Janik's voluntary dismissal with

 

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prejudice was not an enforceable judgment on the merits. That
ruling was in error. The Second Circuit Court of Appeals has
held expressly that a voluntary dismissal with prejudice is an
enforceable judgment on the merits for purposes of an award of
attorney's fees and costs, and thus effects a “material
alteration of the legal relationship of the parties.” Carter v.

lnc. Vill. of Ocean Beach, 759 F.3d 159, 165“66 (2d Cir. 2014)

 

(quoting Buckhannon, 532 U.S. at 604).
In the face of that controlling precedent, Janik cites

Colombrito v. Kelly, 764 F.2d 122 (2d Cir. 1985), and Nemeroff

 

v. Abelson, 620 F.2d 339 {2d Cir. 1980) (per curiam), for the
proposition that “generally the defendant is not considered the
prevailing party when . . . there is a voluntary dismissal of
the action by the plaintiff with prejudice.” Colombrito, 764
F.2d at 130 (quoting Nemeroff, 620 F.2d at 350).

That rule, which appeared originally in Nemeroff, has been
abandoned in light of subsequent decisions of the Supreme Court
and the Second Circuit Court of Appeals. fn Carter v.

lncorporated Village of Ocean Beach, the Court of Appeals

 

explained that “Nemeroff’s general statement of fee-shifting law
was dictum because the order of dismissal in that case expressly
reserved defendants’ right to move for costs.” 795 F.3d at 165.
Moreover, the Carter court concluded that “Nemeroff is . . . in

tension with subsequent case law from the Supreme Court” --

 

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specifically Buckhannon Board & Care Home, lnc. v. West Virgnia

Department of Health & Human Resources, in which the Supreme

 

Court clarified that courts must use the “material alteration”
standard to determine whether a party is a prevailing party for
purposes of fees. Carter, 795 F.3d at 165 (citing Buckhannon,
532 U.S. at 604). The Carter court further explained that a
voluntary dismissal with prejudice works a material alteration
in the legal relationship of the parties under Buckhannon
“because it constitutes ‘an adjudication on the merits for
purposes of res judicata’ and any action so dismissed could not
be brought again.” ld; (citation omitted) (quoting §§a§e

Manhattan Bank, N.A. v. CeloteX Corp., 56 F.3d 343, 345 (2d Cir.

 

1995)). Thus, the court expressly “reject[ed]” the statement
from Nemeroff on which Janik relies here and held that a
voluntary dismissal with prejudice is an enforceable judgment on
the merits which renders the defendant a prevailing party for
purposes of federal fee-shifting statutes. ld; at 166.

The Magistrate Judge's conclusion that Janik's voluntary
dismissal with prejudice is not an adjudication on the merits
for purposes of fees and costs is therefore contrary to law.
Spin Media is a prevailing party for purposes of Rule 54(d) of
the Federal Rules of Civil Procedure and 17 U.S.C. § 505.

Accordingly, the Magistrate Judge’s decision is vacated and the

 

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motion is remanded for an assessment of whether attorney's fees
and/or costs are warranted in this case.
B.

The Magistrate Judge’s denial of attorney's fees and costs
cannot be affirmed on the alternative ground that it was not an
abuse of discretion to find that fees and costs were not
warranted on the facts of this case.

A court must make “clear finding[s]” in assessing whether a
prevailing party is entitled to fees and costs under § 505.

Matthew Bender & Co. v. West Pub. Co., 240 F.3d 116, 122 (2d

 

Cir. 2001); see also Hensley v. Eckerhart, 461 U.S. 424, 437

 

(1983) (explaining in the context of the federal civil rights
fee-shifting statute that a court must “provide a concise but

clear explanation of its reasons for the fee award”); ln re

 

Bolar Pharm. Co. Sec. Litig., 966 F.2d 731, 732 (2d Cir. 1982)

 

(per curiam) (explaining in another attorney’s fees context that
a reviewing court cannot “be satisfied that a [lower] court has
properly exercised its discretion” unless the lower court
explains on the record why it “acted as it did”).

ln Fogerty v. Fantasy, lnc., the Supreme Court explained

 

that any decision on a motion pursuant to 17 U.S.C. § 505 must
include findings that demonstrate a consideration of the
following “nonexclusive factors”: “frivolousness, motivation,

objective unreasonableness (both in the factual and in the legal

 

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components of the case) and the need in particular circumstances
to advance considerations of compensation and deterrence.” 510
U.S. at 534 n.19. The Supreme Court recently reaffirmed that a
court “must” take these considerations into account in deciding
a motion for fees in a copyright infringement case. Kirtsaeng v.

John Wiley & Sons, lnc., 136 S. Ct. 1979, 1988 (2016); accord

 

Zalewski, 754 F.3d at 108.

Herer the Magistrate Judge's decision does not contain any
findings related to the Fogerty factors. The only reason the
Magistrate Judge provided for denying fees and costs was that a
voluntary dismissal with prejudice does not constitute a
decision on the merits. On remandr the Magistrate Judge should
consider explicitly the appropriate Fogerty factors in deciding

Spin Media’s motion for attorney's fees and costs.

 

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CONCLUS ION

The Court has considered all of the arguments raised by the
parties. To the extent not specifically addressed above, the
arguments are either moot or without merit. For the foregoing
reasons, Spin Media’s motion pursuant to Rule 72(a) of the
Federal Rules of Civil Procedure is granted, the Magistrate
Judge's decision regarding fees and costs as against Janik is
vacated, and the matter is remanded for further consideration in
light of this opinion.
SO ORDERED .

Dated: New York, New York
December 4, 2017

 

 

U;l€>@John G. Koeltl .
` ' ed States District Judge

 

